337 F.2d 961
    UNITED STATES of Americav.50 FOOT RIGHT OF WAY OR SERVITUDE IN, OVER AND ACROSSCERTAIN LAND situated in the CITY OF BAYONNE,HUDSON COUNTY, NEW JERSEY and Daniel A.Ferenczi et al., State of NewJersey, Appellant.
    No. 14606.
    United States Court of Appeals Third Circuit.
    Argued March 19, 1964.Decided Oct. 30, 1964.
    
      Thomas C. McGrath, Jr., Deputy Atty. Gen., Trenton, N.J.  (Arthur J. Sills, Atty. Gen. of New Jersey, Trenton, N.J., on the brief), for appellant.
      A. Donald Mileur, Chief, Appellate Sect., Land Div., Department of Justice, Washington, D.C.  (Ramsey Clark, Asst. Atty. Gen., David M. Satz, Jr., U.S. Atty., Newark, N.J., Roger P. Marquis, Marcus L. Beckner, Jr., Attorneys, Department of Justice, Washington, D.C., on the brief), for appellee.
      Before McLAUGHLIN, GANEY and SMITH, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is a companion case to United States of America v. 50 Foot Right of Way or Servitude in, over and across Certain Lands Situate in the City of Bayonne, Hudson County, New Jersey, and Daniel A. Ferenczi, et al., Bergen Point Iron Works, 3 Cir., 337 F.2d 956, decided this day.  In that case the United States District Court for the District of New Jersey allowed in part and denied in part Bergen Point Iron Works' claim for just compensation for the taking by the United States of a right of way for a double pipeline over a certain tract of land, some of which was under Newark Bay in New Jersey.  The State of New Jersey has appealed from the portion of the District Court's judgment denying compensation.  Since it has been established that Bergen Point Iron Works was the owner of the land in question, (a fact which is not contested here), and the State of New Jersey has admitted receiving compensation, the amount of which it does not question as being unjust, for the remaining right of way under Hudson Bay from the United States, that State is not entitled to any compensation for the condemned right of way over that tract of land.
    
    
      2
      The judgment of the District Court will be affirmed.
    
    